
In re Goodyear Tire &amp; Rubber Co.; — Defendants); applying for supervisory *628and/or remedial writs; Parish of Orleans, Civil District Court, Div. “H”, No. 86-21753; to the Court of Appeal, Fourth Circuit, Nos. 90CW-0504, 90CW-0510, 90CW-0543.
Denied. Under the unusual circumstances of this case, the “interim decree” rendered by the trial judge is not an ap-pealable partial judgment under La.Code Civ.P. art. 1915. Therefore, an appeal need not be taken from that decree at this stage in the proceedings. The trial judge is to proceed with a new jury to complete the damage portion of the case as previously ordered. Thereafter, an appeal may be taken from a judgment on the entire case.
